       Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 1 of 31 PageID 5
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                 IN THE COUNTY COURT OF THE THIRTEENTH JUDICIAL CIRCUIT
                         IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

         MARVIN WORRELL,

                 Plaintiff,
                                                                                            Case No.
         v.
                                                                                            JURY TRIAL DEMANDED
         RESURGENT CAPITAL SERVICES L.P.,
                                                                                            INJUNCTIVE RELIEF SOUGHT
                 Defendant.


                                                                 COMPLAINT

                 Plaintiff Marvin Worrell (“Plaintiff ’) sues Defendant Resurgent Capital Services L.P.

         (“ Defendant” ) for violations the Florida Consumer Collection Practices Act (“FCCPA”) and the

         Fair Debt Collection Practices Act (“ FDCPA”)

                                                    JURISDICTION AND VENUE

                 1.          This Court has subject matter jurisdiction over Plaintiff and Defendant

         (collectively, the “Parties”), because the cause of action arises within the jurisdiction of this Court

         and , thus, venue and jurisdiction are proper.

                 2.         This Court has personal jurisdiction over Defendant because Defendant is

         operating, present, and/or doing business within this jurisdiction and because the complained of

         conduct of Defendant occurred within Hillsborough County, Florida.

                 3.         The amount in controversy is greater than $8,000, but does not exceed $15,000,

         exclusive of costs, interest, and attorneys’ fees, and is otherwise within this Court’ s jurisdiction.

                 4.         Venue of this action is proper in this Court because, pursuant to Fla. Stat. § 47.011,

         et seq., the cause of action alleged below arose in Hillsborough County Florida.




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                                                                PARTIES

          5.         Plaintiff is a natural person, and a citizen of the State of Florida, residing in

 Hillsborough County , Florida.

          6.         Defendant is a Delaware Limited Partnership, with its principal place of business

 located in Greenville SC 29601 .

                                             DEMAND FOR JURY TRIAL

          7.         Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable .

                                              FACTUAL ALLEGATIONS

          8.         On a date better known by Defendant, Defendant began attempting to collect a debt

 (the “Consumer Debt” ) from Plaintiff.

          9.         The Consumer Debt is an obligation allegedly had by Plaintiff to pay money arising

 from a transaction between the creditor of the Consumer Debt, Credit One Bank, NA, and Plaintiff

 involving an unsecured line of credit for the personal use of Plaintiff (the “ Subject Service” ) .
                                                                                               ,




          10 .       The Subject Service was primarily for personal , family , or household purposes .

          11 .        Defendant is a business entity engaged in the business of soliciting consumer debts

 for collection.

          12.        Defendant is a business entity engaged in the business of collecting consumer debts.

          13 .       Defendant regularly collects or attempts to collect , directly or indirectly , debts

 owed or due or asserted to be owed or due another.

          14 .       Defendant is registered with the Florida Office of Financial Regulation as a

 “ Consumer Collection Agencv .”

          15 .       Defendant' s “ Consumer Collection Agency'’ license number is CCA 0900145 .




                                                                                                                    PAGE 12 of 7
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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 3 of 31 PageID 7




        16.       Defendant maintains all the records specified in Rule 69V-180.080, Florida

 Administrative Code.

         17.     The records specified by Rule 69 V- 180.080, Florida Administrative Code, of which

 Defendant does maintain , are current to within one week of the current date.

         18.      Defendant is a '‘debt collector’' within the meaning of 15 U .S.C. § 1692a (6).

        19.       Defendant is a “ person” within the meaning of Fla. Stat. § 559.72.

        20.       On a date better known by Defendant, Defendant transmitted Plaintiff s personal

                           -
 information to a third party (the “Third -Party ’).           *




        21.       The personal information Defendant transmitted to the Third - Party included, but

 was not limited to : [1] Plaintiffs name; [2] Plaintiffs address; [3] the existence of the Consumer

 Debt; [4] the amount of the consumer debt; [5] the creditor of the Consumer Debt; [6] that Plaintiff

 was the alleged debtor of the Consumer Debt; [7] information regarding the Subject Service; and

 [8] that Plaintiff did not pay the Consumer Debt and /or defaulted on the Consumer Debt

 (collectively , the “ Transmitted Information’ ).         -
        22.       The Third - Party, of whom Defendant transmitted Plaintiff s personal information

 to, complied Plaintiff s personal information and prepared a letter that was to be sent to Plaintiff

 in an attempt to collect the Consumer Debt.

        23.      The Transmitted Information affected Plaintiffs reputation. For example, the

 transmission of such information affected Plaintiff s reputation regarding the repayment of debts,

 Plaintiff s reputation of truthfulness, Plaintiff s reputation of solvency, and Plaintiff s reputation

 regarding trustworthiness.

        24.       Defendant" s transmission of Plaintiff s personal information to the Third -Party was

 a communication in connection with the collect of the Consumer Debt.

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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 4 of 31 PageID 8




         25.      In addition to transmitting Plaintiffs personal information to the Third -Party ,

 Defendant also transmitted Plaintiffs personal information to other third - party entities in

 connection with the collection of the Consumer Debt. Defendant transmitted such information to

 these other third -party entities by. including but not limited to : [1J utilizing :'skip trace                      '
                                                                                                                          services ;


 [2] utilizing bankruptcy , SCRA , probate, and other "scrubbing" services; and [3] utilizing

 independent third -party contractors to attempt to collect the Consumer debt from Plaintiff.

         26.      On a date better known by Defendant, Defendant sent the letter prepared and/or            ,




 complied by the Third-Party to Plaintiff, of which was internally dated between November 2020

 and April 2021, (the “ Collection Letter” ) in an attempt to collect the Consumer Debt.

         27.      Defendant’ s transmission of Plaintiff s personal information to the Third-Party is

 an explicit violation of § 1692c(b) of the FDCPA. See Hunstein v. Preferred Collection & Mgmt.

 Servs., No. 19-14434, 2021 U.S. App. LEXIS 11648 (11th Cir. Apr. 21, 2021) (a complete copy

 of the Hunstein opinion is attached as Exhibit “ A” ).

         28.      The Collection Letter contains a bar code and /or Quick Response (“ QR”) code, of

 which are indicative of Defendant’ s use of the Third -Party to prepare, print, package, compile,

 and/or otherwise send the Collection Letter.

         29.      For Defendant-DC to maintain a valid consumer collection agency license with the

 Florida Department of State ( so to otherwise lawfully collect, or attempt to collect, consumer debts
                                                                     ,




 from Florida consumers ) Defendant knew it was required to tailor its (Defendant-DC’ s) debt

 collector methods to be in compliance with both the FDCPA and FCCPA.

         30.      Defendant knew that the Transmitted Information constituted an unlawful

 transmission of Plaintiff s personal information in violation of § 1692c(b) of the FDCPA.




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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 5 of 31 PageID 9




        31.      The Third-Party did not have any legitimate need for the Transmitted Information,

 as the Transmitted Information constituted an unlawful transmission of Plaintiffs personal

 information in violation of § 1692c(b) of the FDCPA.



                                             COUNT 1
                                   VIOLATION OF 15 U.S.C. S 1692c(bf

        32.      Plaintiff incorporates by reference paragraphs 1-31 of this Complaint.

        33.      Pursuant to § 1692c(b) of the FDCPA, “a debt collector may not communicate, in

 connection with the collection of any debt, with any person other than the consumer, his attorney,

 a consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the

 creditor, or the attorney of the debt collector.” 15 U.S.C. 1692c(b) (emphasis added).

        34.      As set forth above, Defendant’ s transmission of Plaintiff s personal information to

 the Third-Party violates § 1692c(b) of the FDCPA. See Hunstein, No. 19-14434, 2021 U.S. App.

 LEXIS 11648 (“ [w]e hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in fact

 under Article III and (2) that the debt collector's transmittal of the consumer's personal information

 to its dunning vendor constituted a communication ‘ in connection with the collection of any debt’

 within the meaning of § 1692c(b).” ) Accordingly, Defendant violated § 1692c(b) of the FDCPA

 when it transmitted Plaintiff s personal information to the Third-Party.

        35.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

 against Defendant, awarding Plaintiff the following relief:

                 (a)       Statutory and actual damages as provided by 15 U.S.C. § 1692k;

                 (b)       Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k; and

                 ( c)      Any other relief that this Court deems appropriate under the circumstances.


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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 6 of 31 PageID 10




                                           COUNT 2
                                VIOLATION OF FLA. STAT. S 559.72(5)

        36.      Plaintiff incorporates by reference paragraphs 1-31 of this Complaint.

        37.      Pursuant to § 559.72(5) of the FCCPA, in collecting consumer debts, no person

 shall: “ /djisclose to a person other than the debtor or her or his family information affecting the

 debtor' s reputation, whether or not for credit worthiness, with knowledge or reason to know that

 the other person does not have a legitimate business need for the information or that the

 information is false.” Fla Stat. § 559.72(5) (emphasis added).

        38.      As set forth above, Defendant unlawfully transmitted Plaintiff s personal

 information, by and through the Transmitted Information, to the Third-Party, whereby said

 transmitted information affective Plaintiff s reputation because the Third-Party did not have any

 legitimate need for unlawfully transmitted personal information of Plaintiff.

        39.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

 against Defendant, awarding Plaintiff the following relief:

                 (a)       Statutory and actual damages pursuant to Fla. Stat. §559.77(2);

                 (b)       An injunction prohibiting Defendant from engaging in further collection
                           activities directed at Plaintiff that are in violation of the FCCPA;

                 (c)       Costs and reasonable attorneys’ fees pursuant to Fla. Stat. §559.77(2); and

                 (d)       Any other relief that this Court deems appropriate under the circumstances.

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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 7 of 31 PageID 11




       DATED: June 15, 2021
                                                               Respectfully Submitted,

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                                  EXHIBIT “A”
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 9 of 31 PageID 13

          USCA11 Case: 19-14434       Date Filed: 04/21/2021   Page: 1 of 23


                                                                         [PUBLISH]

                IN THE UNITED STATES COURT OF APPEALS

                         FOR THE ELEVENTH CIRCUIT


                                   No. 19-14434


                    D.C. Docket No. 8:19-cv-00983-TPB-TGW



 RICHARD HUNSTEIN,

                                                                Plaintiff - Appellant,

                                      versus

 PREFERRED COLLECTION AND MANAGEMENT SERVICES, INC.,

                                                               Defendant - Appellee.



                    Appeal from the United States District Court
                        for the Middle District of Florida


                                  (April 21, 2021)

 Before JORDAN, NEWSOM, and TJOFLAT, Circuit Judges.

 NEWSOM, Circuit Judge:

       This appeal presents an interesting question of first impression under the

 Fair Debt Collection Practices Act-—and, like so many other cases arising under
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 10 of 31 PageID 14

            USCA11 Case: 19-14434       Date Filed: 04/21/ 2021   Page : 2 of 23


  federal statutes these days, requires us first to consider whether our plaintiff has

  Article III standing.

        The short story: A debt collector electronically transmitted data concerning

  a consumer’s debt   —including his name, his outstanding balance, the fact that his
  debt resulted from his son’s medical treatment, and his son’s name—to a third-

  party vendor. The third-party vendor then used the data to create, print, and mail a

  “dunning” letter to the consumer. The consumer filed suit alleging that, in sending

  his personal information to the vendor, the debt collector had violated 15 U.S.C. §

  1692c(b), which, with certain exceptions, prohibits debt collectors from

  communicating consumers’ personal information to third parties “ in connection

  with the collection of any debt.” The district court rejected the consumer’s reading

  of § 1692c(b) and dismissed his suit. On appeal, we must consider, as a threshold

  matter, whether a violation of § 1692c( b) gives rise to a concrete injury in fact

  under Article in, and, on the merits, whether the debt collector’s communication

  with its dunning vendor was “in connection with the collection of any debt.”

        We hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in

  fact under Article III and (2) that the debt collector’s transmittal of the consumer’s

  personal information to its dunning vendor constituted a communication “in

  connection with the collection of any debt” within the meaning of § 1692c(b).




                                             2
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 11 of 31 PageID 15

           USCA11 Case: 19-14434      .   Date Filed: 04/21/ 2021   Page: 3 of 23


 Accordingly, we reverse the judgment of the district court and remand for further

  proceedings.

                                              I

        Congress enacted the FDCPA “to eliminate abusive debt collection practices

  by debt collectors” and “to protect consumers against debt collection abuses.” 15

 U.S.C. § 1692(e). To that end, § 1692c(b) of the FDCPA, titled “Communication

 with third parties,” provides that

        Except as provided in section 1692 b of this title, without the prior
        consent of the consumer given directly to the debt collector, or the
        express permission of a court of competent jurisdiction, or as
        reasonably necessary to effectuate a postjudgment judicial remedy, a
        debt collector may not communicate, in connection with the collection
        of any debt, with any person other than the consumer, his attorney, a
        consumer reporting agency if otherwise permitted by law, the creditor,
        the attorney of the creditor, or the attorney of the debt collector.

  15 U.S.C. § 1692c( b). The provision that § 1692c(b) cross-references—§ 1692 b    —
 governs the manner in which a debt collector may communicate “with any person

  other than the consumer for the purpose of acquiring location information.” 15

 U.S.C. § 1692b. The FDCPA thus broadly prohibits a debt collector from

  communicating with anyone other than the consumer “in connection with the

  collection of any debt,” subject to several carefully crafted exceptions—some

 enumerated in § 1692c( b), and others in § 1692b.

        Richard Hunstein incurred a debt to Johns Hopkins All Children’s Hospital

 arising out of his son’s medical treatment. The hospital assigned the debt to
                                              3
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 12 of 31 PageID 16

             USCA11 Case: 19-14434            Date Filed: 04/21/2021       Page: 4 of 23


  Preferred Collections & Management Services, Inc. for collection. Preferred in

  turn hired Compumail, a California-based commercial mail vendor, to handle the

  collection. Preferred electronically transmitted to Compumail certain information

  about Hunstein, including, among other things: (1) his status as a debtor, (2) the

  exact balance of his debt, (3) the entity to which he owed the debt, (4) that the debt

  concerned his son’s medical treatment, and (5) his son’s name. Compumail used

  that information to generate and send a dunning letter to Hunstein.

         Hunstein filed a complaint, alleging violations of both the FDCPA, see 15

  U.S.C. §§1692c( b) and 1692f, and the Florida Consumer Collection Practices Act,

  see Fla. Stat. § 559.72(5). As relevant here, the district court dismissed Hunstein’s

  action for failure to state a claim, concluding that he hadn’t sufficiently alleged that

  Preferred’s transmittal to Compumail violated § 1692c( b) because it didn’t qualify

  as a communication “in connection with the collection of a[ny] debt.




    The district court held for the same reason that Hunstein had not stated a claim for a violation
  of § 1692f. The district court then declined to accept supplemental jurisdiction over Hunstein’ s
  state law claim . Hunstein’ s appeal addresses only the portion of his complaint relating to
  § 1692c(b) .

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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 13 of 31 PageID 17

             USCA11 Case: 19-14434             Date Filed: 04/21/2021         Page: 5 of 23


          Hunstein appealed, and we requested supplemental briefing on the question

  whether he had Article III standing to sue, which we now consider along with the

  merits.2

                                                    II

          First things first. Because standing implicates our subject matter

  jurisdiction, we must address it at the outset, before turning to the merits. Steel Co.

  v. Citizens for a Better Env’t , 523 U.S. 83, 101-02 (1998). Article III of the

  Constitution grants federal courts “judicial Power” to resolve “Cases” and

  “Controversies.” U.S. Const, art. Ill, §§ 1-2. This case-or-controversy
  requirement, which has been construed to embody the doctrine of standing,

  “confines the federal courts to a properly judicial role.” Spokeo, Inc. v. Robins,

  136 S. Ct. 1540, 1547 (2016). The “irreducible constitutional minimum” of Article

  III standing entails three elements: injury in fact, causation, and redressability.

  Lujan v. Defs. of Wildlife , 504 U.S. 555, 560-561 (1992).

         Hunstein’s appeal involves the first element, injury in fact, which consists of

  “an invasion of a legally protected interest” that is both “concrete and

  2
    Whether Hunstein has standing to sue is a threshold jurisdictional question that we review de
  novo . Debernardis v. IQ Formulations, LLC , 942 F . 3d 1076 , 1083 ( 11 th Cir. 2019) . “We
  review the decision to dismiss Plaintiffs complaint pursuant to Rule 12(b)(6) de novo , applying
  the same standard as the district court .” Holzman v. Malcolm S. Gerald & Assocs. , Inc . , 920
  F . 3d 1264, 1268 ( 11 th Cir. 2019) . Accepting the complaint’ s allegations as true and construing
  the facts in the light most favorable to Hunstein, “the relevant inquiry is whether Plaintiff has
  stated a ‘ plausible claim for relief under the FDCPA .” Id . (quoting Ashcroft v. Iqbal , 556 U . S .
  662, 679 (2009)) .

                                                     5
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 14 of 31 PageID 18

            USCA11 Case : 19-14434       Date Filed: 04/21/2021     Page: 6 of 23


  particularized” and “actual or imminent, not conjectural or hypothetical.” Id. at

  560 (quotation marks omitted). In Trichell v. Midland Credit Mgmt., Inc., 964

  F.3d 990 (11th Cir. 2020), a case involving the FDCPA, we reiterated that “[e]ach

  subsidiary element of injury—a legally protected interest, concreteness,

  particularization, and imminence—must be satisfied.” Id. at 996-97. The standing

  question here implicates the concreteness sub-element.

        A plaintiff can meet the concreteness requirement in any of three ways.

  First, he can allege a tangible harm—a category that is “the most obvious and

  easiest to understand” and that includes, among other things, physical injury,

  financial loss, and emotional distress. See Muransky v. Godiva Chocolatier, Inc.,

  979 F.3d 917, 926 (11th Cir. 2020) (en banc); see also Huff v. TeleCheck Servs.,

  Inc ., 923 F.3d 458, 463 (6th Cir. 2019). Second, a plaintiff can allege a “risk of

  real harm.” Muransky , 979 F.3d at 927. Third, in the absence of a tangible injury

  or a risk of real harm, a plaintiff can identify a statutory violation that gives rise to

  an intangible-but-nonetheless-concrete injury. Spokeo , 136 S. Ct. at 1549. We

  consider each possibility in turn.

                                              A

        Hunstein doesn’t allege a tangible harm. The complaint contains no

  allegations of physical injury, financial loss, or emotional distress. Instead, the

  complaint (1) conclusorily asserts that “[i]f a debt collector ‘conveys information


                                              6
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 15 of 31 PageID 19

            USCA11 Case: 19-14434        Date Filed: 04/21/2021     Page: 7 of 23


  regarding the debt to a third party—informs the third party that the debt exists or

  provides information about the details of the debt—then the debtor may well be

  harmed by the spread of this information,’” and (2) vaguely references the “known,

  negative effect that disclosing sensitive medical information to an unauthorized

  third-party has on consumers[.]” In his supplemental brief, Hunstein asks us to

  construe these assertions as allegations of emotional harm, arguing that he was

  “humiliated, embarrassed, and suffered severe anxiety[.]” But we have “repeatedly

  held that an issue not raised in the district court and raised for the first time in an

  appeal will not be considered by this court.” Access Now, Inc. v. Sw. Airlines Co.,

  385 F.3d 1324, 1331 (11th Cir. 2004) (quotation marks omitted). Hunstein thus

  cannot establish standing on the basis of a tangible harm.

                                              B

                                                                         —
        Nor can Hunstein demonstrate standing by the second route showing a

  “risk of real harm.” “[W]hile very nearly any level of direct injury is sufficient to
  show a concrete harm, the risk-of -harm analysis entails a more demanding

  standard—courts are charged with considering the magnitude of the risk.”

  Muransky , 979 F.3d at 927. “Factual allegations that establish a risk that is

  substantial, significant, or poses a realistic danger will clear this bar[.]” Id. at 933.

  Put slightly differently, to constitute injury in fact, the “threatened injury must be

  certainly impending.” Clapper v. Amnesty Int’l USA , 568 U.S. 398, 409 (2013).


                                              7
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 16 of 31 PageID 20

            USCA11 Case: 19-14434       Date Filed: 04/21/2021    Page: 8 of 23


  Again, Hunstein alleges only that a debtor “may well be harmed by the spread” of

  the sort of information at issue here. That vague allegation falls short of a risk that

  is “substantial, significant, or poses a realistic danger Muransky, 979 F.3d at 933,

  or is “certainly impending,” Clapper, 568 U.S. at 409.

                                            C

        We thus consider whether Hunstein can show standing in the third manner

  through a statutory violation. “[T]he violation of a procedural right granted by

  statute can be sufficient in some circumstances to constitute injury in fact,” such

  that “a plaintiff . . . need not allege any additional harm beyond the one Congress

  has identified.” Spokeo, 136 S. Ct. at 1549. Spokeo instructs that in determining

  whether a statutory violation confers Article III standing, we should consider

  “history and the judgment of Congress.” Id.

                                            1

        Starting with history, we can discern a concrete injury where “intangible

  harm has a close relationship to a harm that has traditionally been regarded as

  providing a basis for a lawsuit in English or American courts.” Id. Put differently,

  we look to “whether the statutory violation at issue led to a type of harm that has

  historically been recognized as actionable.” Muransky , 979 F.3d at 926.

  Muransky explains that the “fit between a new statute and a pedigreed common-




                                            8
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 17 of 31 PageID 21

            USCA11 Case: 19-14434        Date Filed: 04/21/2021     Page: 9 of 23


  law cause of action need not be perfect, but we are called to consider at a minimum

  whether the harms match up between the two.” Id.

        For more than a century, invasions of personal privacy have been regarded

  as a valid basis for tort suits in American courts. See, e.g., Pavesich v. New

  England Life Ins. Co., 122 Ga. 190, 50 S.E. 68 (1905); Munden v. Harris , 153 Mo.

  App. 652, 134 S.W. 1076              Kunzv. Allen, 102 Kan. 883, 172 P. 532 (1918).

  By 1977, the Restatement (Second) noted that “the existence of a right of privacy

  is now recognized in the great majority of the American jurisdictions that have

  considered the question.” Restatement (Second) of Torts § 652A cmt. a. (Am. Law

  Inst. 1977).

         More particularly, the term “invasion of privacy” comprises an identifiable

  family of common-law torts—including, most relevantly here, “public disclosure

  of private facts.” Invasion of Privacy , Black’s Law Dictionary 952 (10th ed.

  2014). It is hornbook law that “[o]ne who gives publicity to a matter concerning

  the private life of another is subject to liability to the other for invasion of his

  privacy, if the matter publicized is of a kind that (a) would be highly offensive to a

  reasonable person, and ( b) is not of legitimate concern to the public.” Restatement

  (Second) of Torts § 652D (1977); accord, e.g. , 11 CJ.S. Right of Privacy and

  Publicity § 32; 62A Am. Jur. 2d Privacy § 79. Indeed, the Supreme Court itself

  has recognized “the individual interest in avoiding disclosure of personal matters”

                                              9
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 18 of 31 PageID 22

           USCA11 Case : 19-14434      Date Filed: 04/ 21 /2021   Page: 10 of 23


  and has recognized that “both the common law and the literal understandings of

  privacy encompass the individual’s control of information concerning his or her

  person.” United States Dep’t of Justice v. Reporters Comm , for Freedom of the

  Press , 489 U.S. 749, 763 (1989) (citation and quotation marks omitted).

        Having established the historical pedigree of invasion-of-privacy torts—in

  particular, the sub-species applicable to the public disclosure of private facts we

  next consider whether Preferred’s alleged statutory violation is sufficiently

  analogous. Notably, the FDCPA’s statutory findings explicitly identify “invasions

  of individual privacy” as one of the harms against which the statute is directed. 15

  U.S.C. § 1692(a). And to that end, the statutory provision under which Hunstein

  has sued here expressly prohibits a debt collector from “communicat[ing]” with

  any but a few persons or entities “in connection with the collection of any debt.”

  Id. § 1692c(b). Although § 1692c(b) isn’t identical in all respects to the invasion-

  of-privacy tort, we have no difficulty concluding that it bears “a close relationship

  to a harm that has traditionally been regarded as providing a basis for a lawsuit in

  English or American courts.” Spokeo , 136 S. Ct. at 1549.

        Perry v. Cable News Network, Inc. , 854 F.3d 1336 (11th Cir. 2017), strongly

  supports that conclusion. Perry concerned a plaintiffs allegations that CNN

  divulged his news-viewing history to a third-party in violation of the Video

  Privacy Protection Act. Emphasizing the widespread recognition both of the right


                                            10
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 19 of 31 PageID 23

            USCA11 Case: 19-14434       Date Filed: 04/21 /2021   Page: 11 of 23


  to privacy in general and, more particularly, the privacy interest implicated by the

        —
  VPPA the interest in preventing the disclosure of personal information—the

  Court in Perry concluded that the statutory violation of the VPPA constituted a

  cognizable Article III injury. Id. at 1341 (citing Reporters , 489 U.S. at 762-63).

  Hunstein’s allegations closely resemble those in Perry. The VPPA prohibits “[a]

  video tape service provider [from] knowingly disclosing], to any person,

  personally identifiable information concerning any consumer of such provider.”

  18 U.S.C. § 2710(b). As relevant here, the FDCPA similarly prohibits a debt

  collector from “communicating], in connection with the collection of any debt,

  with any person other than the consumer[.]” §1692c(b). The two statutes thus

  share a common structure—A may not share information about B with C. Because

  we find Perry's reasoning persuasive and analogous, we adopt it here.

        Our decision in Trichell does not require a contrary conclusion. That case

  addressed a claim under a different FDCPA provision, § 1692e, which states that a

  “debt collector may not use any false, deceptive, or misleading representation or

  means in connection with the collection of any debt.” 15 U.S.C. § 1692e. The

  plaintiffs in Trichell alleged that debt collectors had sent them misleading letters,

  and in assessing their claims’ pedigree, we determined that the “closest historical

  comparison is to causes of action for fraudulent or negligent misrepresentation.”

  964 F.3d at 998. Canvassing the common-law history of those torts, we held that


                                            11
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 20 of 31 PageID 24

           USCA11 Case: 19-14434        Date Filed: 04/21/2021   Page: 12 of 23


  the plaintiffs’ claims lacked the necessary “close relationship” to them. Id. at 997

  98. That conclusion is entirely consistent with our holding here that Hunstein has

  standing to sue under a different FDCPA provision. Hunstein’s claim, unlike the

  Trichell plaintiffs’, arises under § 1692c(b) and bears a close relationship to a

  common-law tort.

                                             2

         Although it presents a closer question, we conclude that “the judgment of

  Congress” also favors Hunstein. Congress, of course, expresses its “judgment” in

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  only one way through the text of duly enacted statutes. Even assuming that .

  § 1692c( b) does not clearly enough express Congress’s judgment that injuries of

  the sort that Hunstein alleges are actionable, here Congress went further to

  “explain itself.” Huff , 923 F.3d at 466. In particular, as already noted, in a section
  of the FDCPA titled “Congressional findings and declaration of purpose,”

  Congress identified the “invasion[] of individual privacy” as one of the harms

  against which the statute is directed. 15 U.S.C. § 1692(a). That, we think, is

  sufficient.

        It’s true that we pointed in Trichell to the FDCPA’s language that a person

  may recover “any actual damage sustained by such person as a result of ’ an

  FDCPA violation and “such additional damages as the court may allow,” 15

  U.S.C. § 1692k(a), as evidence of Congress’s judgment that violations of a


                                            12
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 21 of 31 PageID 25

           USCA11 Case: 19-14434       Date Filed: 04/21 /2021   Page: 13 of 23



                     —          —
  different provision § 1692e do not ipso facto constitute a concrete injury.

  Trichell , 964 F.3d at 1000. We don’t read § 1692k(a), though, as categorically

  limiting the class of FDCPA plaintiffs to those with actual damages—particularly

  where, as here, the FDCPA’s statutory findings expressly address the very harm

         —
  alleged an “invasion[] of individual privacy.” 15 U.S.C. § 1692(a).

                                         * *

        Because (1) § 1692c( b) bears a close relationship to a harm that American

  courts have long recognized as cognizable and (2) Congress’s judgment indicates

  that violations of §1692c(b) constitute a concrete injury, we conclude that Hunstein

  has the requisite standing to sue.

                                            Ill

        Having determined that Hunstein has standing to sue under § 1692c( b), we

  now consider the merits of his case. Recall that § 1692c(b) states that, subject to

  several exceptions, “a debt collector may not communicate, in connection with the

  collection of any debt,” with anyone other than the consumer. 15 U.S.C.

  § 1692c( b). The parties agree that Preferred is a “debt collector,” that Hunstein is a

  “consumer,” and that the alleged debt at issue here was a “consumer debt,” all
  within the meaning of § 1692c(b). Helpfully, the parties also agree that Preferred’s

  transmittal of Hunstein’s personal information to Compumail constitutes a




                                            13
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 22 of 31 PageID 26

            USCA11 Case : 19-14434        Date Filed: 04/21 /2021    Page : 14 of 23


  “communication” within the meaning of the statute.3 Accordingly, the sole
  question before us is whether Preferred’s communication with Compumail was “in

  connection with the collection of any debt,” such that it violates §1692c(b).

  Hunstein contends that the plain meaning of the phrase “in connection with the

  collection of any debt” and relevant precedents show that it was and does.

  Preferred, conversely, urges us to adopt a “factor-based analysis” that shows that, it

  says, its communication with Compumail was not “in connection with the

  collection of any debt.”

         We begin with the plain meaning of the phrase “in connection with” and its

  cognate word, “connection.” Dictionaries have adopted broad definitions of both.

  Webster’s Third defines “connection” to mean “relationship or association.”

  Connection , Webster’s Third International Dictionary at 481 (1961), and the

  Oxford Dictionary of English defines the key phrase “in connection with” to mean

  “with reference to [or] concerning,” In Connection With , Oxford Dictionary of
  English at 369 (2010). Usage authorities further explain that the phrase “ in




  3
   Section 1692a(2) defines communication as “the conveying of information regarding a debt
  directly or indirectly to any person through any medium . ” 15 U .S .C. § 1692a(2) .

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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 23 of 31 PageID 27

             USCA11 Case : 19-14434     Date Filed: 04/21 /2021   Page : 15 of 23


    connection with” is “ invariably a vague, loose connective.” Bryan A. Gamer,

    Gamer’s Dictionary of Legal Usage 440 (3d ed. 2011).

          Preferred’s transmittal to Compumail included specific details regarding

    Hunstein’s debt: Hunstein’s status as a debtor, the precise amount of his debt, the

    entity to which the debt was owed, and the fact that the debt concerned his son’s

    medical treatment, among other things. It seems to us inescapable that Preferred’s

    communication to Compumail at least “concerned,” was “with reference to,” and

    bore a “relationship [or] association” to its collection of Hunstein’s debt. We thus

    hold that Hunstein has alleged a communication “in connection with the collection

    of any debt” as that phrase is commonly understood.

          Preferred resists that conclusion on three different grounds, which we

    address in turn.

                                             A

          First, Preferred relies on our interpretation of another FDCPA provision,

    § 1692e, to argue that communications “in connection with the collection of any

    debt” necessarily entail a demand for payment. In relevant part, § 1692e states that

    “[a] debt collector may not use any false, deceptive, or misleading representation
    or means in connection with the collection of any debtP 15 U.S.C. § 1692e

    (emphasis added). In the line of cases interpreting the meaning of “in connection

.   with the collection of any debt” in § 1692e, we have focused on the language of the


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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 24 of 31 PageID 28

           USCA11 Case: 19-14434         Date Filed: 04/21/2021    Page: 16 of 23


  underlying communication. In Reese v. Ellis, Painter, Ratterree & Adams, LLP ,

  for instance, in concluding that a law firm’s letter to a consumer was “in

  connection with the collection of any debt” within the meaning of § 1692e, we

  emphasized that the letter expressly stated that the firm was attempting to collect a

  debt and was acting as a debt collector, demanded full and immediate payment,

  and threatened to add attorneys’ fees to the outstanding balance if the debtors

  didn’t pay. 678 F.3d 1211, 1217 (11th Cir. 2012). Similarly, in Caceres v.

  McCalla Raymer, LLC , we held that a collection letter constituted a

  “communication in connection with the collection of a[ny] debt” under § 1692e for

  similar reasons. Quoting the letter, we emphasized “that it is ‘for the purpose of

  collecting a debt;’ it refers in two additional paragraphs to ‘collection efforts;’ it

  states that collections efforts will continue and that additional attorneys’ fees and

  costs will accrue; it states the amount of the debt and indicates that it must be paid

  in certified funds; and it gives the name of the creditor and supplies the law firm’s

  phone number in the paragraph where it talks about payments.” 755 F.3d 1299,

  1301-03 (11th Cir. 2014).

        Relying on Caceres and Reese—both of which, again, addressed § 1692e           —
  the district court here adopted the following test:

        When determining whether a communication was made in connection
        with the collection of a[ny] debt, the courts look to the language of the
        communication itself to ascertain whether it contains a demand for
        payment and warns of additional fees or actions if payment is not
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Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 25 of 31 PageID 29

           USCA11 Case: 19-14434       Date Filed: 04/21/2021    Page: 17 of 23


        tendered. Consequently, when determining whether the transmission
        of information to a third party constitutes a violation of the FDCPA, it
        is important to consider whether the communication makes an express
        or implied demand for payment.

        The district court’s conclusion that the phrase “in connection with the

  collection of any debt” necessarily entails a demand for payment defies the

  language and structure of § 1692c(b) for two separate but related reasons—neither

                                                       -
  of which applies to § 1692e. First, the demand-for payment interpretation would

  render superfluous the exceptions spelled out in §§ 1692c( b) and 1692b. Consider

  as an initial matter the exceptions specified in § 1692c(b) itself: “[A] debt

  collector may not communicate, in connection with the collection of any debt, with

  any person other than the consumer, his attorney, a consumer reporting agency if

  otherwise permitted by law, the creditor, the attorney of the creditor, or the

  attorney of the debt collector [ .]” 15 U.S.C. § 1692c(b) (emphasis added).

  Communications with four of the six excepted parties—a consumer reporting

  agency, the creditor, the attorney of the creditor, and the attorney of the debt

           —
  collector- would never include a demand for payment. The same is true of the

  parties covered by § 1692 b and, by textual cross-reference, excluded from

  § 1692c(b)’s coverage: “person[s] other than the consumer” with whom a debt

  collector might communicate “for the purpose of acquiring location information




                                            17
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 26 of 31 PageID 30

           USCA11 Case: 19-14434        Date Filed: 04/21/2021   Page: 18 of 23


  about the consumer.” Id. § 1692 b. A debt collector would presumably never make

  a demand for payment of a party matching that description.

        The upshot is that the phrase “in connection with the collection of any debt”

  in § 1692c(b) must mean something more than a mere demand for payment.

  Otherwise, Congress’s enumerated exceptions would be redundant. Under the

  district court’s demand-for-payment interpretation, Congress wouldn’t have

  needed to include exceptions for communications with consumer reporting

  agencies, creditors, attorneys of creditors, attorneys of debt collectors, or persons

  providing a debtor’s location information; those communications would have been

  foreclosed ipso facto by the phrase “in connection with the collection of any debt.”

  It is a “cardinal principle of statutory construction” that “a statute ought, upon the

  whole, to be so construed that, if it can be prevented, no clause, sentence, or word

  shall be superfluous[.]” Duncan v. Walker , 533 U.S. 167, 174 (2001) (quotation

  marks omitted); accord, e.g., Antonin Scalia & Bryan A. Garner, Reading Law:

  The Interpretation of Legal Texts 174 (2012) (“If possible, every word and every

  provision is to be given effect . . . . None should be ignored. None should

  needlessly be given an interpretation that causes it to duplicate another provision or

  to have no consequence.”). Because it is possible—and indeed, we think, more




                                            18
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 27 of 31 PageID 31

           USCA11 Case: 19-14434        Date Filed: 04/21 /2021   Page : 19 of 23


  natural—to interpret § 1692c(b) in a way that does not render most of its textually

  specified exceptions redundant, we will do so.

        Second, and relatedly, the district court’s interpretation renders yet another

  portion of § 1692c(b) meaningless. By insisting on a demand for payment, the

  district court essentially interpreted “in connection with the collection of any debt”

  to mean “to collect any debt.” Under this interpretation, the key phrase “in

  connection with” has no independent meaning or force. But as just explained, we

  have a duty to “give effect, if possible, to every clause and word of a statute[.]”

  Duncan, 533 U.S. at 174.

        The district court seems to have been led astray by its reliance on decisions

  interpreting § 1692e, whose language and operation are different from

  § 1692c(b)’s in important respects. As a linguistic matter, § 1692e contains none

  of the specific exceptions that § 1692c( b) does; accordingly, there was no risk in

  Reese or Caceres that, by reading a “demand for payment” gloss into § 1692e, we
 - would render other portions of that statute redundant or meaningless. And as an

                               —
  operational matter, § 1692e which prohibits “false, deceptive, or misleading

  representation or means in connection with the collection of any debt”—covers the

  sorts of claims that are brought by recipients of debt collectors’ communications

  i.e. , debtors. See Caceres , 755 F.3d at 1300-1301 (case brought by recipient of

  letter, the debtor); Reese , 678 F.3d at 1214 (same). As its title indicates, by

                                             19
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 28 of 31 PageID 32

             USCA11 Case: 19-14434     Date Filed: 04/21/2021    Page: 20 .of 23


  contrast, § 1692c(b), targets debt collectors’ “[communication with third parties,”

  not debtors. In the typical § 1692c(b) case, the debtor isn’t the recipient of the

  challenged communication. Linguistic differences aside, this practical operational

  difference undermines any argument that the meaning of the phrase “in connection

  with the collection of any debt” must necessarily be the same in § 1692c(b) as in §

  1692e.

                                            B

        Preferred separately urges us to adopt the holistic, multi-factoring balancing

  test that the Sixth Circuit decreed in its unpublished opinion in Goodson v. Bank of

  Am., N.A., 600 Fed. Appx. 422 (6th Cir. 2015). That test counsels courts

  confronting § 1692e’s “in connection with the collection of any debt” language to

  take into account the following seven considerations:

        (1) the nature of the relationship of the parties; (2) whether the
        communication expressly demanded payment or stated a balance due;
        (3) whether it was sent in response to an inquiry or request by the
        debtor; (4) whether the statements were part of a strategy to make
        payment more likely; (5) whether the communication was from a debt
        collector; (6) whether it stated that it was an attempt to collect a debt;
        and (7) whether it threatened consequences should the debtor fail to
        pay.

  Goodson , 600 F. App’x at 431. We decline Preferred’s invitation for two related

  reasons.

        First, and perhaps most obviously, Goodson and the cases that have relied on

  it concern § 1692e—not § 1692c(b). And as just explained, §§ 1692c(b) and
                                            20
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 29 of 31 PageID 33

           USCA11 Case: 19-14434        Date Filed: 04/ 21/2021   Page: 21 of 23


  1692e differ both (1) linguistically, in that the former includes a series of

  exceptions that an atextual reading risks rendering meaningless, while the latter

  does not, and (2) operationally, in that they ordinarily involve different parties.

                             —
  Goodsoris seventh factor whether the communication threatened consequences

  should the debtor fail to pay—illustrates this point. It makes little sense for a debt

  collector to threaten consequences should the debtor fail to pay in a

  communication that is not sent to the debtor himself.

        Second, we believe that in the context of § 1692c(b), the phrase “in

  connection with the collection of any debt” has a discernible ordinary meaning that

  obviates the need for resort to extratextual “factors.” All too often, multifactor

                                                          —
  tests—especially sevew-factor tests like Goodsori s obscure more than they
                                                      1




  illuminate. Parties to FDCPA-govemed transactions:—debtors, creditors, debt

  collectors, lawyers, etc.—are entitled to guidance about the scope of permissible

  activity. They are likelier to get it even from a broadly framed statutory language

  than from a judge-made gestalt,

                                             C

        Lastly, Preferred makes what we’ll call an “industry practice” argument. It

  contrasts what it says is the widespread use of mail vendors like Compumail and

  the relative dearth of FDCPA suits against them. More particularly, Preferred

  identifies cases involving mail vendors and emphasizes that none of them hold that

                                             21
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 30 of 31 PageID 34

           USCA11 Case: 19-14434       Date Filed: 04/21 /2021   Page: 22 of 23


  a debt collector’s mail vendor violated the FDCPA. True enough, but none of the

  cases that Preferred cites involved § 1692c(b) claims, and the courts in those cases

  certainly had no obligation to sua sponte determine whether the collectors’

  communications to their vendors violated § 1692c(b). That this is (or may be) the

  first case in which a debtor has sued a debt collector for disclosing his personal

  information to a mail vendor hardly proves that such disclosures are lawful.

        One final (and related) point: It’s not lost on us that our interpretation of

  § 1692c(b) runs the risk of upsetting the status quo in the debt-collection industry.

  We presume that, in the ordinary course of business, debt collectors share

  information about consumers not only with dunning vendors like Compumail, but

  also with other third-party entities. Our reading of § 1692c( b) may well require

  debt collectors (at least in the short term) to in-source many of the services that

  they had previously outsourced, potentially at great cost. We recognize, as well,

  that those costs may not purchase much in the way of “real” consumer privacy, as

  we doubt that the Compumails of the world routinely read, care about, or abuse the

  information that debt collectors transmit to them. Even so, our obligation is to

  interpret the law as written, whether or not we think the resulting consequences are

  particularly sensible or desirable. Needless to say, if Congress thinks that we’ve




                                            22
Case 8:21-cv-01773-TPB-JSS Document 1-1 Filed 07/22/21 Page 31 of 31 PageID 35

          USCA11 Case: 19-14434         Date Filed: 04/21/2021   Page: 23 of 23



                     —
  misread § 1692c(b) or even that we’ve properly read it but that it should be

           —
  amended it can say so.

                                            IV

        To sum up, Hunstein has Article IE standing to bring his claim under

  § 1692c( b). Further, because Preferred’s transmittal of Hunstein’s personal debt-

  related information to Compumail constituted a communication “in connection

  with the collection of any debt” within the meaning of § 1692c(b)’s key phrase,

  Hunstein adequately stated a claim.

        REVERSED and REMANDED              .




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